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                   EXHIBIT B
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                                                                                                           US007570686B2


   (12)   United States Patent                                                      (10)   Patent No.:     US 7,570,686 B2
          Krinsky et al.                                                            (45)   Date of Patent:      Aug. 4, 2009

   (54)    SYSTEMS AND METHODS FOR                                             (56)                         References Cited
           ESTABLISHING A DIAGNOSTIC                                                              U.S. PATENT DOCUMENTS
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           COMMUNICATING OVER THE SAME                                                4,385,384 A      *     5/1983 Rosbury et al .............. 7141717
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                                                                                                               (Continued)
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   (73)   Assignee: Aware, Inc., Bedford, MA (US)
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   ( *)   Notice:        Subject to any disclaimer, the term of this
                         patent is extended or adjusted under 35               Cioffi, John M., ADSL Maintenance with DMT, TlE1.4 ADSL
                                                                               Project, Amati ConnnunicationsCorporation, Dec. 1, 1992, pp. 1-14.
                         U.S.c. 154(b) by 631 days.
                                                                                                               (Continued)
   (21)   Appl. No.: 10/619,691
                                                                               Primary Examiner-Khanh C Tran
   (22)    Filed:        Jul. 16, 2003                                         (74) Attorney, Agent, or Firm-Sheridan Ross P.c.; Jason H.
                                                                               Vick
   (65)                     Prior Publication Data
                                                                               (57)                           ABSTRACT
          US 2004/0202237 Al                Oct. 14,2004
                                                                               Upon detection of a trigger, such as the exceeding of an error
                    Related U.S. Application Data                              threshold or the direction of a user, a diagnostic link system
                                                                               enters a diagnostic information transmission mode. This
   (62)    Division of application No. 091755,173, filed on Jan. 8,
                                                                               diagnostic information transmission mode allows for two
           2001, now Pat. No. 6,658,052.
                                                                               modems to exchange diagnostic and/or test information that
   (60)    Provisional application No. 60/224,308, filed on Aug.               may not otherwise be exchangeable during normal commu-
           10, 2000, provisional application No. 601174,865,                   nication. The diagnostic information transmission mode is
           filed on Jan. 7, 2000.                                              initiated by transmitting an initiate diagnostic link mode mes-
                                                                               sage to a receiving modem accompanied by a cyclic redun-
   (51)   Int. CI.                                                             dancy check (CRC). The receiving modem determines, based
                                                                               on the CRC, if a robust communications channel is present. If
          H04B 1/38                  (2006.01)
                                                                               a robust communications channel is present, the two modems
          H04L 12/26                 (2006.01)
                                                                               can initiate exchange of the diagnostic and/or test informa-
                                                                               tion. Otherwise, the transmission power of the transmitting
   (52)    U.S. CI. ....................................... 3751222; 370/252   modem is increased and the initiate diagnostic link mode
   (58)    Field of Classification Search . ... ... ... ....... 375/222,       message re-transmitted to the receiving modem until the CRC
                    375/224-225,227,220,284; 370/252,282,                      is determined to be correct.
                         370/241; 379/22.02,22.04,27.01,27.03
           See application file for complete search history.                                      41 Claims, 2 Drawing Sheets

                                                         200                                                        300
                                 Central Office                                            Remote Terminal
                                                               230                                 310
                                                                                                                          330




                                                                                                                   Diagnostic
                                                                                                                  Information
                                                                                                                    Storage
                                                                                                                    Deivce


                                                                                              POTS-R                            40
                                                                                      L-----~------~--p-ho-n-e-,rv
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     Central Offi
                                   200
                                    .
                                                                                                               300
                                                                                                               .                               =
                                                                                                                                               ~


                                            230                                          310
         210           (ATU-C)                                                                       (ATU-R)         330
                                            !II                                          III
        ;V                        Diagnostic                                        Message
                                                                                                                   ;II                         >
,0        eRC                    Information                                      Determination            Diagnostic                          =
                                                                                                                                               ~
I        Checker                  Monitoring              10               30        Device                 Device                        60   .j;o.
                                                                                                                                               ~




                            5       Device              ;II       5       /II                                                           /l/    N
                                                                                                                                               o
                                                                                                                                               o
\                      ;V               I                                                                                             User     \0

I                                                 :: Splitter         SPlitter!                                                     Terminal
                      220                                                                      320                       340
                      ;11                                                                                             !II
                                                                                                                                               rFJ
                                                                                                           Diagnostic
        Diagnostic                                                                   Power                                                     =-
                                                                                                                                               ('D

         Device                                                                      Control
                                                                                                          Information                          a....
                                                                                                            Storage
                                                                                     Device                                                     o....
                                                                                                            Deivce
                                                                                                                                               N


                            20      POTS-C                                         POTS-R                                      40
                        ~
             Phone                      ;V                                          ;V                         Phone
             Switch

                                                                                                                                               d
                                                                                                                                               rJl
                                                              Fig. 1                                                                           -....l
                                                                                                                                               11.
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                          >----------yes


                         S130
             Select
                         ;?/                                                   Fig. 2
           Diagnostic          >-----Yes----+j
             Mode                                                  S170
               ?
                                               Transmit Initiate Diagnostic
                                 ~----~                                       ~------~
                                                    Mode Message                         Yes




                                                  Determine Diagnostic
                                                     Link Message
                   S140
                                              For Predetermined Number Of
                                Yes
          Enter Normal                                  Iterations S220
          Steady State
              Data
                                                Transmit Diagnostic Link
          Transmission
                                                  Message With eRC             S210
                                                                                  No




             Error
           Threshold
           Exceeded                                      Correct
               ?                                           ?


                                                    ,-----'-------, S250
                                                        Increase
                                                      Transmission
                                                         Power
                         S160
          ___-~:::::::::,f------------=:=::=::=::=:==:=:=------yes-----'
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                                                         US 7,570,686 B2
                                  1                                                                        2
            SYSTEMS AND METHODS FOR                                         tral office" i.e., located at the central office). Each modem
            ESTABLISHING A DIAGNOSTIC                                       includes a transmitter section for transmitting data and a
             TRANSMISSION MODE AND                                          receiver section for receiving data, and is of the discrete
          COMMUNICATING OVER THE SAME                                       multitone type, i.e., the modem transmits data over a multi-
                                                                            plicity of sub channels of limited bandwidth. Typically, the
                RELATED APPLICATION DATA                                    upstream or ATU -C modem transmits data to the downstream
                                                                            or ATU-R modem over a first set of subchannels, which are
    This application is a Divisional Application of U.S. appli-             usually the higher-frequency subchannels, and receives data
  cation Ser. No. 091755,173 entitled "Systems and Methods                  from the downstream or ATU-R modem over a second, usu-
  For EstablishingA Diagnostic Transmission Mode And Com-              10   ally smaller, set of subchannels, commonly the lower-fre-
  municating Over the Same" filed Jan. 8, 2001, which claims                quency subchannels. By establishing a diagnostic link mode
  benefit of Provisional Application Nos. 60/224,308 filedAug.              between the two modems, the systems and methods of this
  10, 2000 and 601174,865 filed Jan. 7, 2000 and incorporated               invention are able to exchange diagnostic and test informa-
  herein by reference in their entirety.                                    tion in a simple and robust manner.
                                                                       15
                                                                                In the diagnostic link mode, the diagnostic and test infor-
                  FIELD OF THE INVENTION
                                                                            mation is communicated using a signaling mechanism that
                                                                            has a very high immunity to noise and/or other disturbances
    This invention relates to test and diagnostic information. In
                                                                            and can therefore operate effectively even in the case where
  particular, this invention relates to a robust system and
                                                                            the modems could not actually establish an acceptable con-
  method for communicating diagnostic information.
                                                                       20   nection in their normal operational mode.
            BACKGROUND OF THE INVENTION                                         For example, if the ATU-C and/or ATU-R modem fail to
                                                                            complete an initialization sequence, and are thus unable to
     The exchange of diagnostic and test information between                enter a normal steady state communications mode, where the
  transceivers in a telecommunications environment is an               25   diagnostic and test information would normally be
  important part of a telecommunications, such as an ADSL,                  exchanged, the modems according to the systems and meth-
  deployment. In cases where the transceiver connection is not              ods of this invention enter a robust diagnostic link mode.
  performing as expected, for example, where the data rate is               Alternatively, the diagnostic link mode can be entered auto-
  low, where there are many bit errors, or the like, it is necessary        matically or manually, for example, at the direction of a user.
  to collect diagnostic and test information from the remote           30   In the robust diagnostic link mode, the modems exchange the
  transceiver. This is performed by dispatching a technician to             diagnostic and test information that is, for example, used by a
  the remote site, e.g., a truck roll, which is time consuming and          technician to determine the cause of a failure without the
  expensive.                                                                technician having to physically visit, i.e., a truckroll to, the
     In DSL technology, communications over a local sub-                    remote site to collect data.
  scriber loop between a central office and a subscriber pre-          35       The diagnostic and test information can include, for
  mises is accomplished by modulating the data to be transmit-              example, but is not limited to, signal to noise ratio informa-
  ted onto a multiplicity of discrete frequency carriers which              tion, equalizer information, programmable gain setting infor-
  are snmmed together and then transmitted over the subscriber              mation, bit allocation information, transmitted and received
  loop. Individually, the carriers form discrete, non-overlap-              power information, margin information, status and rate infor-
  ping communication subchannels oflimited bandwidth. Col-             40   mation, telephone line condition information, such as the
  lectively, the carriers form what is effectively a broadband              length of the line, the number and location of bridged taps, a
  communications channel. At the receiver end, the carriers are             wire gauge, or the like, or any other known or later developed
  demodulated and the data recovered.                                       diagnostic or test information that may be appropriate for the
     DSL systems experience disturbances from other data ser-               particular communications environment. For example, the
  vices on adjacent phone lines, such as, for example, ADSL,           45   exchanged diagnostic and test information can be directed
  HDSL, ISDN, T1, or the like. These disturbances may com-                  toward specific limitations of the modems, to information
  mence after the subj ect ADSL service is already initiated and,           relating to the modem installation and deployment environ-
  since DSL for internet access is envisioned as an always-on               ment, or to other diagnostic and test information that can, for
  service, the effect of these disturbances must be ameliorated             example, be determined as needed which may aid in evaluat-
  by the subject ADSL transceiver.                                     50   ing the cause of a specific failure or problem. Alternatively,
                                                                            the diagnostic and test information can include the loop
               SUMMARY OF THE INVENTION                                     length and bridged tap length estimations as discussed in U.S.
                                                                            patent application Ser. No. 091755,172 now became U.S. Pat.
     The systems and methods of this invention are directed                 No. 6,865,221, filed herewith and incorporated herein by
  toward reliably exchanging diagnostic and test information           55   reference in its entirety.
  between transceivers over a digital subscriber line in the                    For example, an exemplary embodiment of the invention
  presence of voice communications and/or other disturbances.               illustrates the use of the diagnostic link mode in the commu-
  For simplicity of reference, the systems and methods of the               nication of diagnostic information from the remote terminal
  invention will hereafter refer to the transceivers generically as         (RT) transceiver, e.g.,ATU-R, to the central office (CO) trans-
  modems. One such modem is typically located at a customer            60   ceiver, e.g., ATU-C. Transmission of information from the
  premises such as a home or business and is "downstream"                   remote terminal to the central office is important since a
  from a central office with which it communicates. The other               typical ADSL service provider is located in the central office
  modem is typically located at the central office and is                   and would therefore benefit from the ability to determine
  "upstream" from the customer premises. Consistent with                    problems at the remote terminal without a truckroll. However,
  industry practice, the modems are often referred to as "ATU-         65   it is to be appreciated, that the systems and the methods of this
  R" ("ADSL transceiver unit, remote," i.e., located at the cus-            invention will work equally well in communications from the
  tomerpremises) and "ATU-C" ("ADSL transceiver unit, cen-                  central office to the remote terminal.
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                                 3                                                                         4
      These and other features and advantages of this invention
   are described in or are apparent from the following detailed                                       TABLE 1
   description of the embodiments.
                                                                                              Exemplary Message Variables

         BRIEF DESCRIPTION OF THE DRAWINGS                                        Data Sent in !be Diag Link
                                                                                  Train Type
                                                                                  ADSL Standard
     The embodiments of the invention will be described in                        Chip Type
  detail, with reference to the following figures wherein:                        Vendor ID
     FIG. 1 is a functional block diagram illustrating an exem-                   Code Version
                                                                                  Average Reverb Received Signal
  plary communications system according to this invention;           10
                                                                                  Programmable gain amplifier (PGA) Gain - Training
  and                                                                             Programmable gain amplifier PGA Gain - Showtime
     FIG. 2 is a flowchart outlining an exemplary method for                      Filter Present during Idle Channel Calculation
  communicating diagnostic and test information according to                      Average Idle Channel Noise
                                                                                  Signal to Noise during Training
  this invention.                                                                 Signal to Noise during Showtime
                                                                     15
                                                                                  Bits and Gains
      DETAILED DESCRIPTION OF THE INVENTION                                       Data Rate
                                                                                  Framing Mode
                                                                                  Margin
     For ease of illustration the following description will be                   Reed-Solomon Coding Gain
  described in relation to the CO receiving diagnostic and test      20           QAMUsage
                                                                                  Frequency Domain Equalizer (FDQ) Coefficients
  information from the RT. In the exemplary embodiment, the
                                                                                  Gain Scale
  systems and methods of this invention complete a portion of                     Time domain equalizer (TDQ) Coefficients
  the normal modem initialization before entering into the diag-                  Digital Echo Canceller (DEC) Coefficients
  nostic link mode. The systems and methods of this invention
  can enter the diagnostic link mode manually, for example, at       25
  the direction of a technician or a user after completing a                 Table 1 shows an example of a data message that can be
  portion of initialization. Alternatively, the systems and meth-         sent by the RT to the CO during the diagnostic link mode. In
  ods of this invention can enter the diagnostic link mode auto-          this example, the RT modem sends 23 different data variables
  matically based on, for example, a bit rate failure, a forward          to the CO. Each data variable contains different items of
  error correction or a CRC error during showtime, e.g., the         30   diagnostic and test information that are used to analyze the
  normal steady state transmission mode, or the like. The tran-           condition of the link. The variables may contain more than
  sition into the diagnostic link mode is accomplished by trans-          one item of data. For example, the Average Reverb Signal
  mitting a message from the CO modem to the RT modem                     contains the power levels per tone, up to, for example, 256
  indicating that the modems are to enter into the diagnostic             entries, detected during theADSL Reverb signal. Conversely,
  link mode, as opposed to transitioning into the normal steady      35   the PGA Gain-Training is a single entry, denoting the gain in
  state data transmission mode. Alternatively, the transition into        dB at the receiver during the ADSL training.
  the diagnostic link mode is accomplished by transmitting a                 Many variables that represent the type of diagnostic and
  message from the RT modem to the CO modem indicating                    test information that are used to analyze the condition of the
  that the modems are to enter into the diagnostic link mode as           link are sent from the RT modem to the CO modem. These
  opposed to transitioning into the normal steady state data         40   variables can be, for example, arrays with different lengths
  transmission mode. For example, the transition signal uses an           depending on, for example, information in the initiate diag-
  ADSL state transition to transition from a standard ADSL                nostic mode message. The systems and methods of this inven-
  state to a diagnostic link mode state.                                  tion can be tailored to contain many different diagnostic and
     In the diagnostic link mode, the RT modem sends diagnos-             test information variables. Thus, the system is fully config-
  tic and test information in the form of a collection of infor-     45   urable, allowing subsets of data to be sent and additional data
  mati on bits to the CO modem that are, for example, modu-               variables to be added in the future. Therefore, the message
  lated by using one bit per DTM symbol modulation, as is used            length can be increased or decreased, and diagnostic and test
  in the C-Rates1 message in the ITU and ANSI ADSL stan-                  information customized, to support more or less variables as,
  dards, where the symbol may or may not include a cyclic                 for example, hardware, the environment and/or the telecom-
  prefix. Other exemplary modulation techniques include Dif-         50   munications equipment dictates.
  ferential Phase Shift Keying (DPSK) on a subset or all the                 Therefore, it is to be appreciated, that in general the vari-
  carriers, as specified in, for example, ITU standard G.994.1,           ables transmitted from the modem being tested to the receiv-
  higher order QAM modulation (> 1 bit per carrier), or the like.         ing modem can be any combination of variables which allow
     In the one bit per DMT symbol modulation message                     for transmission of test and/or diagnostic information.
  encoding scheme, a bit with value 0 is mapped to the               55      FIG. 1 illustrates an exemplary embodiment of the addi-
  REVERB 1 signal and a bit with a value of 1 mapped to a                 tional modem components associated with the diagnostic link
  SEGUE1 signal. The REVERB1 and SEGUE1 signals are                       mode. In particular, the diagnostic link system 100 comprises
  defined in the ITU and ANSI ADSL standards. The                         a central office modem 200 and a remote terminal modem
  REVERB 1 signal is generated by modulating all of the car-              300. The central office modem 200 comprises, in addition to
  riers in the multi carrier system with a known pseudo-random       60   the standardATU-C components, a CRC checker 210, a diag-
  sequence thus generating a wideband modulated signal. The               nostic device 220, and a diagnostic information monitoring
  SEGUE1 signal is generated from a carrier by 180 degree                 device 230. The remote terminal modem 300 comprises, in
  phase reversal of the REVERB 1 signal. Since both signals are           addition to the standard components associated with anATU-
  wideband and known in advance, the receiver can easily                  R, a message determination device 310, a power control
  detect the REVERB 1 and SEGUE1 signal using a simple               65   device 320, a diagnostic device 330 and a diagnostic infor-
  matched filter in the presence of large amounts of noise and            mation storage device 340. The central office modem 200 and
  other disturbances                                                      the remote terminal model 300 are also connected, via link 5,
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                                  5                                                                        6
  to a splitter 10 for a phone switch 20, and a splitter 30 for a           limited to, the version number of the diagnostic link mode, the
  phone 40. Alternatively, the ATU-R can operate without a                  length of the diagnostic and/or test information, the commu-
  splitter, e.g., splitterless, as specified in ITU standard G.992.2        nications standard, such as the ADSL standard, the chipset
  (G.lite) or with an in-line filter in series with the phone 40. In        type, the vendor identifications, the ATU version number, the
  addition, the remote terminal modem 300, can also be con-                 time domain received reverb signal, the frequency domain
  nected to, for example, one or more user tenninals 60. Addi-              reverb signal, the amplifier settings, the eo transmitter power
  tionally, the central office modem 200 can be connected to                spectral density, the frequency domain received idle charmel,
  one or more distributed networks 50, via link 5, which mayor              the signal to noise ratio, the bits and gains and the upstream
  may not also be connected to one or more other distributed                and downstream transmission rates, or the like.
  networks.                                                            10      If the initiate diagnostic link mode message is not received
     While the exemplary embodiment illustrated in FIG. 1                   by the central office 200, the initiate diagnostic link mode
  shows the diagnostic link system 100 for an embodiment in                 message can, for example, be re-transmitted a predetermined
  which the remote tenninal modem 300 is communicating test                 number of iterations until a detennination is made that it is not
  and diagnostic information to the central office 200, it is to be         possible to establish a connection.
  appreciated that the various components of the diagnostic link       15      Assuming the initiate diagnostic link mode message is
  system can be rearranged such that the diagnostic and test                received, then, for a predetennined number of iterations, the
  information can be forwarded from the central office 200 to               diagnostic device 330, in cooperation with the remote tenni-
  the remote terminal modem 300, or, alternatively, such that               nal modem 300 and the diagnostic infonnation storage device
  both modems can send and receive diagnostic and/or test                   340, transmits the diagnostic link message with a cyclic
  information. Furthermore, it is to be appreciated, that the          20   rednndancy check (eRC) to the central office modem 200.
  components of the diagnostic link system 100 can be located               However, it is to be appreciated that in general, any error
  at various locations within a distributed network, such as the            detection scheme, such as bit error detection, can be used
  POTS network, or other comparable telecommnnications net-                 without affecting the operation of the system. The central
  work. Thus, it should be appreciated that the components of               office 200, in cooperation with the eRe checker 210, deter-
  the diagnostic link system 100 can be combined into one              25   mines if the eRe is correct. If the eRe is correct, the diag-
  device for respectively transmitting, receiving, or transmit-             nostic information stored in the diagnostic information stor-
  ting and receiving diagnostic and/or test information. As will            age device 340 has been, with the cooperation of the
  be appreciated from the following description, and for rea-               diagnostic device 330, and the remote tenninal modem 300,
  sons of computational efficiency, the components of the diag-             forwarded to the central office 200 successfully.
  nostic link system 100 can be arranged at any location within        30      If, for example, the eRe checker 210 is unable to deter-
  a telecommnnications network and/or modem without affect-                 mine the correct eRe, the diagnostic device 330, in coopera-
  ing the operation of the system.                                          tion with power control device 320, increases the transmis-
     The links 5 can be a wired or wireless link or any other               sion power of the remote terminal 300 and repeats the
  known or later developed element(s) that is capable of sup-               transmission of the diagnostic link message from the remote
  plying and communicating electronic data to and from the             35   tenninal300 to the central office 200. This process continues
  connected elements. Additionally, the user terminal 60 can                until the correct eRe is determined by the eRe checker 210.
  be, for example, a personal computer or other device allowing                The maximum power level used for transmission of the
  a user to interface with and communicate over a modem, such               diagnostic link message can be specified by, for example, the
  as a DSL modem. Furthermore, the systems and method of                    user or the ADSL service operator. If the eRe checker 210
  this invention will work equally well with splitterless and          40   does not determine a correct eRe at the maximum power
  low-pass multi carrier modem technologies.                                level and the diagnostic link mode can not be initiated then
     In operation, the remote tenninal 300, commences its nor-              other methods for detennining diagnostic information are
  mal initialization sequence. The diagnostic device 330 moni-              utilized, such as dispatching a technician to the remote site, or
  tors the initialization sequence for a failure. If there is a             the like.
  failure, the diagnostic device 330 initiates the diagnostic link     45      Alternatively, the remote terminal 300, with or without an
  mode. Alternatively, a user or, for example, a technician at the          increase in the power level, can transmit the diagnostic link
  eo, can specifY that the remote terminal 300 enter into the               message several times, for example, 4 times. By transmitting
  diagnostic link mode after completing a portion of an initial-            the diagnostic link message several times, the eo modem 200
  ization. Alternatively still, the diagnostic device 330 can               can use, for example, a diversity combining scheme to
  monitor the nonnal steady state data transmission of the             50   improve the probability of obtaining a correct eRe from the
  remote tenninal, and upon, for example, an error threshold                received diagnostic link message(s).
  being exceeded, the diagnostic device 330 will initiate the                  Alternatively, as previously discussed, the central office
  diagnostic link mode.                                                     200 comprises a diagnostic infonnation monitoring device
     Upon initialization of the diagnostic link mode, the diag-             230. The remote terminal 300 can also include a diagnostic
  nostic device 330, in cooperation with the remote tenninal           55   information monitoring device. One or more of these diag-
  300 will transmit an initiate diagnostic link mode message                nostic infonnation monitoring devices can monitor the nor-
  from the remote tenninal to the central office 200 (RT to eO).            mal steady state data transmission between the remote tenni-
  Alternatively, the central office modem 200 can transmit an               nal 300 and the central office 200. Upon, for example, the
  initiate diagnostic link mode message to the remote tenninal              normal steady state data transmission exceeded a predeter-
  modem 300. If the initiate diagnostic link mode message is           60   mined error threshold, the diagnostic infonnation monitoring
  received by the central office 200, the diagnostic device 330,            device can initiate the diagnostic link mode with the coopera-
  in cooperation with the message detennination device 310,                 tion of the diagnostic device 300 and/or the diagnostic device
  determines a diagnostic link message to be forwarded to the               220.
  central office 200. For example, the diagnostic link message                 FIG. 2 illustrates an exemplary method for entering a diag-
  can include test infonnation that has been assembled during,         65   nostic link mode in accordance with this invention. In par-
  for example, the nonnal ADSL initialization procedure. The                ticular, control begins in step S100 and continues to step
  diagnostic and/or test information can include, but is not                Sll O. In step Sll 0, the initialization sequence is commenced.
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                                7                                                                       8
  Next, in step S120, if an initialization failure is detected,          diagnostic link system may be implemented partially or fully
  control continues to step S170. Otherwise, control jumps to            in hardware using standard logic circuits or a VLSI design.
  step S130. In step S130, a detennination is made whether the           Other software or hardware can be used to implement the
  diagnostic link mode has been selected. If the diagnostic link         systems in accordance with this invention depending on the
  mode has been selected, control continues to step S170, oth-           speed and/or efficiency requirements of the systems, the par-
  erwise, control jumps to step S140.                                    ticular function, and a particular software or hardware sys-
     In step S170, the initiate diagnostic link mode message is          tems or microprocessor or microcomputer systems being uti-
  transmitted from, for example, the remote tenninal to the              1ized. The diagnostic link system and methods illustrated
  central office. Next, in step S180, a determination is made            herein however, can be readily implemented in hardware
  whether the initiate diagnostic mode message has been             10   and/or software using any known or later developed systems
  received by the co. If the initiate diagnostic mode message            or structures, devices and/or software by those of ordinary
  has been received by the CO, control jumps to step S200.               skill in the applicable art from the functional description
  Otherwise, control continues to step S190. In step S190, a             provided herein and with a general basic knowledge of the
  determination is made whether to re-transmit the initiate              computer and telecommunications arts.
  diagnostic mode message, for example, based on whether a          15      Moreover, the disclosed methods can be readily imple-
  predetermined number of iterations have already been com-              mented as software executed on a programmed general pur-
  pleted. If the initiate diagnostic mode message is to be re-           pose computer, a special purpose computer, a microproces-
  transmitted, control continues back to step S170. Otherwise,           sor, or the like. In these instances, the methods and systems of
  control jumps to step S160.                                            this invention can be implemented as a program embedded on
     In step S200, the diagnostic link message is determined, for   20   a modem, such a DSL modem, as a resource residing on a
  example, by assembling test and diagnostic infonnation                 personal computer, as a routine embedded in a dedicated
  about one or more of the local loop, the modem itself, the             diagnostic link system, a central office, or the like. The diag-
  telephone network at the remote tenninal, or the like. Next, in        nostic link system can also be implemented by physically
  step S210, for a predetermined number of iterations, steps             incorporating the system and method into a software and/or
  S220-S240 are completed. In particular, in step S220 a diag-      25   hardware system, such as a hardware and software systems of
  nostic link message comprising a CRC is transmitted to, for            a modem, a general purpose computer, anADSL line testing
  example, the co. Next, in step S230, the CRC is detennined.            device, or the like.
  Then, in step S240, a determination is made whether the CRC               It is, therefore, apparent that there is provided in accor-
  is correct. If the CRC is correct, the test and/or diagnostic          dance with the present invention, systems and methods for
  information has been successfully communicated and control        30   transmitting a diagnostic link message. While this invention
  continues to step S160.                                                has been described in conjunction with a number of embodi-
     Otherwise, if step S210 has completed the predetermined             ments' it is evident that many alternatives, modifications and
  number of iterations, control continues to step S250. In step          variations would be or are apparent to those of ordinary skill
  S250, the transmission power is increased and control con-             in the applicable arts. Accordingly, applicants intend to
  tinues back to step S210. Alternatively, as previously dis-       35   embrace all such alternatives, modifications, equivalents and
  cussed, the diagnostic link message may be transmitted a               variations that are within the spirit and the scope of this
  predetermined number of times, with our without a change in            invention.
  the transmission power.
     In step S140, the nonnal steady state data transmission is             What is claimed is:
  entered into between two modems, such as the remote tenni -       40      1. In a multicarrier modulation transceiver, a method of
  nal and the cental office modems. Next, in step S150, a deter-         communicating diagnostic information over a communica-
  mination is made whether an error threshold during the nor-            tion channel using multi carrier modulation comprising:
  mal steady state data transmission has been exceeded. If the              transmitting or receiving at the multicarrier modulation
  error threshold has been exceeded, control continues to step                 transceiver an initiate diagnostic mode message; and
  S170. Otherwise, control jumps to step S160. In step S160,        45      transmitting from the multicarrier modulation transceiver a
  the control sequence ends.                                                   diagnostic message using multicarrier modulation,
     As shown in FIG. 1, the diagnostic link mode system can be                wherein the diagnostic message comprises a plurality of
  implemented either on a single program general purpose                       data variables representing the diagnostic infonnation
  computer, a modem, such as a DSL modem, or a separate                        about the communication channel and each bit in the
  program general purpose computer having a communications          50         diagnostic message is mapped to at least one DMT sym-
  device. However, the diagnostic link system can also be                      bol, and wherein one variable comprises an array repre-
  implemented on a special purpose computer, a programmed                      senting frequency domain received idle channel noise
  microprocessor or micro controller and peripheral integrated                 information.
  circuit element, an ASIC or other integrated circuit, a digital           2. The method of claim 1, wherein the initiate diagnostic
  signal processor, a hardwired electronic or logic circuit such    55   mode message is based on at least one of an initialization
  as a discrete element circuit, a programmed logic device such          failure, a bit rate failure, a CRC error in an initialization
  as a PLD, PLA, FPGA, PAL, or the like, and associated                  message, a CRC error during the normal steady state trans-
  communications equipment. In general, any device capable               mission mode, a forward error correction error, a user request
  of implementing a finite state machine that is capable of              and a co technician request.
  implementing the flowchart illustrated in FIG. 2 can be used      60      3. The method of claim 1, wherein the diagnostic message
  to implement a diagnostic link system according to this inven-         comprises diagnostic infonnation about the communication
  tion.                                                                  channel including at least one of a length of the diagnostic
     Furthermore, the disclosed method may be readily imple-             information, a time domain received reverb signal, a fre-
  mented in software using object or object-oriented software            quency domain reverb signal, an amplifier setting, a co trans-
  development environments that provide portable source code        65   mitter power spectral density, a frequency domain received
  that can be used on a variety of computer, workstation, or             idle channel, a signal to noise ratio, bits and gain information,
  modem hardware platfonns. Alternatively, the disclosed                 and upstream and or downstream transmission rates.
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                                   9                                                                       10
      4. The method of claim 1, wherein the transceiver is a                    13. In a multicarrier communication transceiver, a protocol
   central office modem or a remote tenninal modem.                          for communicating diagnostic information over a communi-
      5. A diagnostic system capable of communicating diagnos-               cation channel using multicarrier modulation comprising:
   tic information over a communication channel using multi-                    transmitting or receiving at the multicarrier communica-
   carrier modulation comprising:                                                  tion transceiver an initiate diagnostic mode message;
      a transceiver capable of transmitting or receiving an initiate               and
         diagnostic mode message; and                                           transmitting from the multi carrier communication trans-
                                                                                   ceiver a diagnostic message using multi carrier modula-
      a message detennination module capable of detennining
                                                                                   tion, wherein the diagnostic message comprises a plu-
         and, in cooperation with the transceiver, transmitting a
                                                                                   rality of data variables representing the diagnostic
         diagnostic message from the transceiver, wherein the           10
                                                                                   information about the communication channel and each
         diagnostic message comprises a plurality of data vari-
                                                                                   bit in the diagnostic message is mapped to at least one
         ables representing the diagnostic information about the
                                                                                   DMT symbol, and wherein one variable comprises an
         communication chaunel and each bit in the diagnostic
                                                                                   array representing frequency domain received idle chan-
         message is mapped to at least one DMT signal, and
                                                                                   ne noise information.
         wherein one variable comprises an array representing           15
                                                                                14. The protocol of claim 13, wherein the initiate diagnos-
         frequency domain received idle channel noise infonna-
                                                                             tic mode message is based on at least one of an initialization
         tion.
                                                                             failure, a bit rate failure, a eRe error in an initialization
      6. The system of claim 5, wherein the initiate diagnostic              message, a eRe error during the normal steady state trans-
   mode message is based on at least one of an initialization           20   mission mode, a forward error correction error, a user request
   failure, a bit rate failure, a eRe error in an initialization             and a eo technician request.
   message, a eRe error during the normal steady state trans-                   15. The protocol of claim 13, wherein the diagnostic mes-
   mission mode, a forward error correction error, a user request            sage comprises diagnostic infonnation about the communi-
   and a eo technician request.                                              cation channel including at least one of a length of the diag-
      7. The system of claim 5, wherein the diagnostic message          25   nostic information, a time domain received reverb signal, a
   comprises diagnostic infonnation about the communication                  frequency domain reverb signal, an amplifier setting, a eo
   channel including at least one of a length of the diagnostic              transmitter power spectral density, a frequency domain
   information, a time domain received reverb signal, a fre-                 received idle channel, a signal to noise ratio, bits and gain
   quency domain reverb signal, an amplifier setting, a eo trans-            information, and upstream and or downstream transmission
   mitter power spectral density, a frequency domain received           30   rates.
   idle channel, a signal to noise ratio, bits and gain infonnation,            16. The protocol of claim 13, wherein the transceiver is a
   and upstream and or downstream transmission rates.                        central office modem or a remote tenninal modem.
      8. The system of claim 5, wherein the transceiver is a                    17. An information storage media comprising instructions
   central office modem or a remote tenninal modem.                          that when executed communicate diagnostic infonnation
      9. A multi carrier communication transceiver capable of           35   over a communication channel using multi carrier modulation
   communicating diagnostic information over a communica-                    comprising:
   tion channel using multi carrier modulation comprising:                      instructions that when executed direct a transceiver to
      means for transmitting or receiving at the multicarrier com-                 receive or transmit an initiate diagnostic mode message;
         munication transceiver an initiate diagnostic mode mes-                   and
         sage; and                                                      40      instructions that when executed transmit a diagnostic mes-
      means for transmitting from the multicarrier communica-                      sage from the transceiver using multicarrier modulation,
         tion transceiver a diagnostic message using multi carrier                 wherein the diagnostic message comprises a plurality of
         modulation, wherein the diagnostic message comprises                      data variables representing the diagnostic infonnation
         a plurality of data variables representing the diagnostic                 about the communication channel and each bit in the
         information about the communication channel and each           45
                                                                                   diagnostic message is mapped to at least one DMT sym-
         bit in the diagnostic message is mapped to at least one                   bol, and wherein one variable comprises an array repre-
         DMT symbol, and wherein one variable comprises an                         senting frequency domain received idle channel noise
         array representing frequency domain received idle chan-                   information.
         nel noise infonnation.                                                 18. The media of claim 17, wherein the initiate diagnostic
                                                                        50   mode message is based on at least one of an initialization
      10. The transceiver of claim 9, wherein the initiate diag-             failure, a bit rate failure, a eRe error in an initialization
   nostic mode message is based on at least one of an initializa-            message, a eRe error during the normal steady state trans-
   tion failure, a bit rate failure, a eRe error in an initialization        mission mode, a forward error correction error, a user request
   message, a eRe error during the normal steady state trans-                and a eo technician request.
   mission mode, a forward error correction error, a user request       55
                                                                                19. The media of claim 17, wherein the diagnostic message
   and a eo technician request.                                              comprises diagnostic infonnation about the communication
      11. The transceiver of claim 9, wherein the diagnostic                 channel including at least one of a length of the diagnostic
   message comprises diagnostic infonnation about the commu-                 information, a time domain received reverb signal, a fre-
   nication channel including at least one of a length of the                quency domain reverb signal, an amplifier setting, a eo trans-
   diagnostic infonnation, a time domain received reverb signal,        60   mitter power spectral density, a frequency domain received
   a frequency domain reverb signal, an amplifier setting, a eo              idle channel, a signal to noise ratio, bits and gain information,
   transmitter power spectral density, a frequency domain                    and upstream and or downstream transmission rates.
   received idle channel, a signal to noise ratio, bits and gain                20. In a multicarrier modulation transceiver, a method of
   information, and upstream and or downstream transmission                  communicating diagnostic information over a communica-
   rates.                                                               65   tion channel using multi carrier modulation comprising:
      12. The transceiver of claim 9, wherein the transceiver is a              transmitting or receiving at the multicarrier modulation
   central office modem or a remote tenninal modem.                                transceiver an initiate diagnostic mode message; and
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                                 11                                                                        12
      transmitting from the multicarrier modulation transceiver a                 bit of the diagnostic message, wherein the diagnostic
         diagnostic message using multicarrier modulation with                    message comprises a plurality of data variables repre-
         DMT symbols that are mapped to one bit of the diag-                      senting the diagnostic information about the communi-
         nostic message, wherein the diagnostic message com-                      cation channel, and wherein one variable comprises an
         prises a plurality of data variables representing the diag-              array representing frequency domain received idle chan-
         nostic information about the communication channel,                      nel noise information.
         and wherein one variable comprises an array represent-                29. The transceiver of claim 28, wherein the initiate diag-
         ing frequency domain received idle channel noise infor-            nostic mode message is based on at least one of an initializa-
         mation.                                                            tion failure, a bit rate failure, a eRe error in an initialization
      21. The method of claim 20, wherein the initiate diagnostic      10   message, a eRe error during the normal steady state trans-
   mode message is based on at least one of an initialization               mission mode, a forward error correction error, a user request
   failure, a bit rate failure, a eRe error in an initialization            and a eo technician request.
   message, a eRe error during the normal steady state trans-                  30. The transceiver of claim 28, wherein the diagnostic
   mission mode, a forward error correction error, a user request           message comprises diagnostic information about the commu-
   and a eo technician request.                                        15   nication channel including at least one of a length of the
      22. The method of claim 20, wherein the diagnostic mes-               diagnostic information, a time domain received reverb signal,
   sage comprises diagnostic information about the communi-                 a frequency domain reverb signal, an amplifier setting, a eo
   cation channel including at least one of a length of the diag-           transmitter power spectral density, a frequency domain
   nostic information, a time domain received reverb signal, a              received idle channel, a signal to noise ratio, bits and gain
   frequency domain reverb signal, an amplifier setting, a eo          20   information, and upstream and or downstream transmission
   transmitter power spectral density, a frequency domain                   rates.
   received idle channel, a signal to noise ratio, bits and gain               31. The transceiver of claim 28, wherein the transceiver is
   information, and upstream and or downstream transmission                 a central office modem or a remote terminal modem.
   rates.                                                                      32. In a multicarrier communication transceiver, a protocol
      23. The method of claim 20, wherein the transceiver is a         25   for communicating diagnostic information over a communi-
   central office modem or a remote terminal modem.                         cation channel using multicarrier modulation comprising:
      24. A diagnostic system capable of communicating diag-                   transmitting or receiving at the multicarrier commnnica-
   nostic information over a communication channel using mul-                     tion transceiver an initiate diagnostic mode message;
   ticarrier modulation comprising:                                               and
      a transceiver capable of transmitting or receiving an initiate   30      transmitting from the multi carrier communication trans-
         diagnostic mode message; and                                             ceiver a diagnostic message using multi carrier modula-
      a message determination module capable of determining                       tion with DMT symbols that are mapped to one bit of the
         and, in cooperation with the transceiver, transmitting                   diagnostic message, wherein the diagnostic message
         from the transceiver a diagnostic message using multi-                   comprises a plurality of data variables representing the
         carrier modulation with DMT symbols that are mapped           35         diagnostic information about the communication chan-
         to one bit of the diagnostic message, wherein the diag-                  nel, and wherein one variable comprises an array repre-
         nostic message comprises a plurality of data variables                   senting frequency domain received idle channel noise
         representing the diagnostic information about the com-                   information.
         munication channel, and wherein one variable com-                     33. The protocol of claim 32, wherein the initiate diagnos-
         prises an array representing frequency domain received        40   tic mode message is based on at least one of an initialization
         idle channel noise information.                                    failure, a bit rate failure, a eRe error in an initialization
      25. The system of claim 24, wherein the initiate diagnostic           message, a eRe error during the normal steady state trans-
   mode message is based on at least one of an initialization               mission mode, a forward error correction error, a user request
   failure, a bit rate failure, a eRe error in an initialization            and a eo technician request.
   message, a eRe error during the normal steady state trans-          45      34. The protocol of claim 32, wherein the diagnostic mes-
   mission mode, a forward error correction error, a user request           sage comprises diagnostic information about the communi-
   and a eo technician request.                                             cation channel including at least one of a length of the diag-
      26. The system of claim 24, wherein the diagnostic mes-               nostic information, a time domain received reverb signal, a
   sage comprises diagnostic information about the communi-                 frequency domain reverb signal, an amplifier setting, a eo
   cation channel including at least one of a length of the diag-      50   transmitter power spectral density, a frequency domain
   nostic information, a time domain received reverb signal, a              received idle channel, a signal to noise ratio, bits and gain
   frequency domain reverb signal, an amplifier setting, a eo               information, and upstream and or downstream transmission
   transmitter power spectral density, a frequency domain                   rates.
   received idle channel, a signal to noise ratio, bits and gain               35. The protocol of claim 32, wherein the transceiver is a
   information, and upstream and or downstream transmission            55   central office modem or a remote terminal modem.
   rates.                                                                      36. An information storage media comprising instructions
      27. The system of claim 24, wherein the transceiver is a              that when executed commnnicate diagnostic information
   central office modem or a remote terminal modem.                         over a communication channel using multi carrier modulation
      28. A multicarrier communication transceiver capable of               comprising:
   commnnicating diagnostic information over a communica-              60      instructions that when executed direct a transceiver to
   tion channel using multi carrier modulation comprising:                        receive or transmit an initiate diagnostic mode message;
      means for transmitting or receiving at the multicarrier com-                and
         munication transceiver an initiate diagnostic mode mes-               instructions that when executed transmit from the trans-
         sage; and                                                                ceiver a diagnostic message using multi carrier modula-
      means for transmitting from the multicarrier communica-          65         tion with DMT symbols that are mapped to one bit of the
         tion transceiver a diagnostic message using multi carrier                diagnostic message, wherein the diagnostic message
         modulation with DMT symbols that are mapped to one                       comprises a plurality of data variables representing the
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         diagnostic infonnation about the communication chan-                     wherein one variable comprises an array representing
         nel, and wherein one variable comprises an array repre-                  frequency domain received idle channel noise infonna-
         senting is frequency domain received idle channel noise                  tion.
         information.                                                          40. In a multicarrier modulation transceiver, a method of
      37. The media of claim 36, wherein the initiate diagnostic            communicating diagnostic information over a communica-
   mode message is based on at least one of an initialization               tion channel using multi carrier modulation comprising:
   failure, a bit rate failure, a CRC error in an initialization               transmitting, during a diagnostic mode, a diagnostic mes-
   message, a CRC error during the normal steady state trans-                     sage using multi carrier modulation, wherein the diag-
   mission mode, a forward error correction error, a user request                 nostic message comprises a plurality of data variables
   and a CO technician request.                                        10         representing the diagnostic infonnation about the com-
      38. The media of claim 36, wherein the diagnostic message                   munication channel and at least one bit in the diagnostic
   comprises diagnostic infonnation about the communication                       message is mapped to at least one DMT symbol, wherein
   channel including at least one of a length of the diagnostic                   one variable comprises an array representing frequency
   information, a time domain received reverb signal, a fre-                      domain received idle channel noise infonnation.
   quency domain reverb signal, an amplifier setting, a CO trans-      15      41. Communicating diagnostic information over a commu-
   mitter power spectral density, a frequency domain received               nication channel using multicarrier modulation comprising:
   idle channel, a signal to noise ratio, bits and gain infonnation,           communicating from a transceiver a diagnostic message
   and upstream and or downstream transmission rates.                             comprising a plurality of data variables representing the
      39. In a multicarrier modulation transceiver, a method of                   diagnostic information, wherein each bit in the diagnos-
   communicating diagnostic information including a plurality          20         tic message is mapped to at least one DMT symbol,
   of data variables over a communication channel using multi-                    wherein one variable comprises an array representing
   carrier modulation comprising:                                                 frequency domain received idle channel noise infonna-
      associating, at said transceiver in a diagnostic message and                tion.
         based on an initiate diagnostic mode message, each bit in
         the diagnostic message with at least one DMT symbol,                                      * * * * *
